






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00201-CR






In re Joel Silva






Rudy Carmona, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 3012632, HONORABLE BOB PERKINS, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to Rudy Carmona's appeal from a judgment
of conviction for burglary of a habitation.  The subject of this proceeding is Mr. Joel Silva, court
reporter for the 331st District Court.

The reporter's record was originally due to be filed on May 31, 2002.  The record was
not tendered for filing and Silva did not respond to the notice that the record was overdue.  On
August 2, 2002, this Court ordered Silva to tender the record for filing in this cause no later than
September 27, 2002.  Silva failed to file the record as ordered.

The said Joel Silva is hereby ordered to appear in person before this Court on the 23rd
day of October, 2002, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price
Daniel, Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to
show cause why he should not be held in contempt for his failure to obey the August 2, 2002, order
of this Court, and sanctions imposed.  This order to show cause will be withdrawn and the said Joel
Silva will be relieved of his obligation to appear before this Court as above ordered if the Clerk of
this Court receives the reporter's record by October 21, 2002.

It is ordered October 9, 2002.


Before Chief Justice Aboussie, Justices Patterson and Puryear

Do Not Publish


